         Case 2:18-cv-02062-HLT Document 227 Filed 06/21/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 BEAU CHARBONNEAU, on behalf of himself
 and others similarly situated,

            Plaintiff,
                                                            Case No. 2:18-cv-02062-HLT-ADM
            v.

 MORTGAGE LENDERS OF AMERICA
 L.L.C., et al.,

            Defendants.


                              ORDER APPROVING SETTLEMENT

       Plaintiffs bring this putative collective action under the FLSA against Defendants. The

parties settled the claims, and Plaintiffs filed an unopposed motion for approval of the settlement

agreement. Doc. 217. The Court reviewed the original settlement agreement and convened two

telephonic motion hearings to discuss a few provisions of it with the parties. Docs. 223 and 224.

The discussion focused on the “no publicity” provision, and the parties ultimately agreed to revise

this term. Plaintiffs submitted the fully executed Amended Settlement Agreement and Release of

Claims (“Amended Settlement Agreement”) on June 21, 2021. Doc. 226-1.

       The Court reviewed the motion, the Amended Settlement Agreement, and applicable law.

The Court finds as follows:

       1.        The Amended Settlement Agreement is APPROVED as a fair, equitable, and

reasonable resolution of a bona fide dispute over the FLSA claims and provisions at issue in this

contested litigation and is incorporated by reference and as though fully set forth in this Order.

       2.        The formula for settlement payment allocation set forth in the Amended Settlement

Agreement is APPROVED as a fair, equitable, and reasonable measure for distributing the

Settlement Sum to FLSA Collective Members;
         Case 2:18-cv-02062-HLT Document 227 Filed 06/21/21 Page 2 of 2




       3.      The service awards provided in the Amended Settlement Agreement are approved

as reasonable compensation for work benefitting the FLSA Collectives;

       4.      Plaintiff Beau Charbonneau and all individuals who filed (and did not withdraw)

consents to join this action as plaintiffs before the date of this Order are hereby deemed to fully

and unconditionally waive and release claims against Releasees as defined and described in the

Amended Settlement Agreement.

       5.      An award of attorneys’ fees, expenses, and costs is mandatory and therefore

approved. The Parties’ Amended Settlement Agreement provides Defendants shall pay Plaintiffs’

reasonable attorneys’ fees, expenses, and costs separate from and in addition to the Settlement

Sum. The Court will determine the reasonable amounts of such awards by separate order.

       Based on these findings, the Court GRANTS Plaintiffs’ Unopposed Motion to Approve

FLSA Collective Action Settlement (Doc. 217).

       IT IS SO ORDERED.

       Dated: June 21, 2021                          /s/ Holly L. Teeter
                                                     HOLLY L. TEETER
                                                     UNITED STATES DISTRICT JUDGE




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